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Nancy A. Mismash
ROBERT J. DEBRY & ASSOCIATES
4252 South 700 East
Salt Lake City, UT 84107
Tel: (801) 262-8915
Fascimile: (801) 262-8995

Peter W. Burg
James G. Heckbert
A. Casey Geiger
BURG SIMPSON ELDREDGE HERSH & JARDINE, P.C.
40 Inverness Drive East
Englewood, CO 80210
Telephone: (303) 792-5595
Facsimile: (303) 708-0527
Attorneys for Plaintiff
Martin L. Smith


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


MARTIN L. SMITH

 Plaintiff,
                                                         PLAINTIFF’S RESPONSE TO
v.                                                     DEFENDANT WRIGHT MEDICAL
                                                      GROUP’S MOTION TO DISMISS FOR
WRIGHT MEDICAL GROUP, INC.,                           LACK OF PERSONAL JURISDICTION
a Delaware corporation, and
WRIGHT MEDICAL TECHNOLOGY, INC.,                          Case No. 2:15-cv-00140-DBP
a Delaware corporation,
                                                               Judge David Nuffer
 Defendants.


PLAINTIFF’S RESPONSE TO DEFENDANT WRIGHT MEDICAL GROUP’S MOTION
           TO DISMISS FOR LACK OF PERSONAL JURISDICTION

        Plaintiff, Martin L. Smith, through undersigned counsel, hereby responds to Defendant

Wright Medical Group, Inc.’s Memorandum of Law in support of its Motion to Dismiss for lack

of Personal Jurisdiction and states as follows:

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                                    I.     INTRODUCTION
       Wright Medical Group, Inc. (“WMG”) seeks dismissal pursuant to F.R.C.P. 12(b)(2) for

lack of personal jurisdiction, arguing that it is a purported “holding” company without any

connection to the design, manufacture, testing, distribution, marketing, or sales of any hip

implant products including the PROFEMUR products at issue in Plaintiff’s complaint.1 WMG’s

arguments fail for three reasons.

       First, WMG’s Motion to Dismiss fails because the allegations in Plaintiff’s Complaint

allege that WMG designed and manufactured the subject PROFEMUR hip product and

marketed and sold it in Utah, which product was in fact placed in Plaintiff’s body in Utah, which

product was defective and ultimately failed, thereby causing the injuries, damages, and losses

sustained by Plaintiff in Utah. Contrary to Defendant’s Motion, those allegations specifically

connect WMG and its product to the forum (Utah) and to this litigation (damages arising from a

PROFEMUR hip failure). Under the controlling law, Plaintiff’s allegations on their face confer

personal jurisdiction over Wright Medical Group. Accepting the allegations in Plaintiff’s

complaint as true, the Court must reject WMG’s Motion to Dismiss.

       Second, Defendant’s affidavit submitted with its Motion conflicts with the competent

written evidence submitted in this Response, which evidence supports the jurisdictional facts

alleged by Plaintiff. WMG’s own public statements to the Securities and Exchange Commission

and WMG’s own press releases—statements for which this Court can take judicial notice—

contradict WMG’s affidavit and create at the least genuine issues of material fact as to WMG’s



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  The Court should be aware of a virtually identical case filed against WMG by Plaintiff Curtis
Ricord alleging failure of the PROFEMUR Hip device designed, manufactured, marketed, and
sold by Defendant WMG. That case is pending before the Honorable Bruce Jenkins – case
number 2:15-cv-00141-DBP. Defendant WMG has also filed a motion to dismiss in that case by
citing the Lightman affidavit. Plaintiff is responding to that motion contemporaneously herewith.
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direct involvement in the design, manufacture, marketing, and sale of Wright’s hip implant

products, including the defective Profemur product implanted into Plaintiff’s body.

       Third, the evidence further confirms that Wright Medical Group controlled the

manufacture and sale of Plaintiff’s PROFEMUR hip device from France to the forum state, Utah

and that Wright Medical Group, Inc.—not Wright Medical Technology, Inc.—realized a

significant profit from the sale of the PROFEMUR product line.

       Thus, although WMG submitted an affidavit of its general counsel claiming WMG has no

connection to the forum or the product at issue in this litigation, the written evidence submitted

herewith shows that WMG’s affidavit at best simply creates conflicting jurisdictional facts that

require denial of Defendant’s Motion. The WMG affidavit directly conflicts with WMG’s own

factual statements, which factual statements support Plaintiff’s allegations in his Complaint. The

conflicting jurisdictional facts support prima facie evidence of specific personal jurisdiction over

WMG and the Court should therefore deny Defendant’s Motion to Dismiss

                                 II.     CONTROLLING LAW
       Plaintiff pleaded specific personal jurisdiction against WMG in his Complaint. “The

inquiry whether a forum State may assert specific jurisdiction over a nonresident defendant

“focuses on ‘the relationship among the defendant, the forum, and the litigation.’” Walden v.

Fiore, 134 S. Ct. 1115, 1121 (U.S. 2014). The specific jurisdiction analysis in Utah involves a

three-part inquiry: “(1) the defendant’s acts or contacts must implicate Utah under the Utah long-

arm statute; (2) a ‘nexus’ must exist between the plaintiff’s claims and the defendant’s acts or

contacts; and (3) application of the Utah long-arm statute must satisfy the requirements of federal

due process.” Soma Med. Int’l v. Standard Chartered Bank, 196 F.3d 1292, 1295 (10th Cir.

1999). The Utah Legislature has determined the Utah long-arm statute “should be applied so as

to assert jurisdiction over nonresident defendants to the fullest extent permitted by the due

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process clause of the Fourteenth Amendment to the United States Constitution.” Utah Code Ann.

§ 78B-3-201(3) (2008).

       The due process analysis is usually made first “because any set of circumstances that

satisfies due process will also satisfy the long-arm statute.” Soma, 196 F.3d at 1298. The Court’s

specific jurisdiction due process inquiry is two-fold:

       First, we must determine whether the defendant has such minimum contacts with
       the forum state "that he should reasonably anticipate being haled into court there."
       Within this inquiry we must determine whether the defendant purposefully
       directed its activities at residents of the forum, and whether the plaintiff's claim
       arises out of or results from "actions by the defendant himself that create a
       substantial connection with the forum state." Second if the defendant's actions
       create sufficient minimum contacts, we must then consider whether the exercise
       of personal jurisdiction over the defendant offends "traditional notions of fair play
       and substantial justice." This latter inquiry requires a determination of whether a
       district court's exercise of personal jurisdiction over a defendant with minimum
       contacts is "reasonable" in light of the circumstances surrounding the case.


OMI Holdings v. Royal Ins. Co. of Can., 149 F.3d 1086, 1091 (10th Cir. 1998) (citations

omitted). The analysis ensures that a defendant will not be haled into a jurisdiction solely as a

result of ‘random,’ ‘fortuitous,’ or ‘attenuated’ contacts. Burger King Corp. v. Rudzewicz, 471

U.S. 462, 475 (U.S. 1985).

       Under Utah law, if jurisdictional allegations are challenged by an appropriate pleading, a

plaintiff must then support the jurisdictional complaint allegations by competent proof of the

supporting facts. Wenz v. Memery Crystal, 55 F.3d 1503, 1508 (10th Cir. 1995); Pytlik v.

Professional Resources, Ltd., 887 F.2d 1371, 1376 (10th Cir. 1989). Here, Defendant WMG

seeks dismissal for lack of personal jurisdiction pursuant to a Fed. R. Civ. P. 12(b)(2) motion,

claiming it has no connection to the forum.

       As this Court held in Brockbank v. Wolfe, “when a district court rules on a Fed. R. Civ. P.

2(b)(2) motion to dismiss for lack of personal jurisdiction . . . the plaintiff need only make a


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prima facie showing of personal jurisdiction to defeat the motion.” 2014 U.S. Dist. LEXIS

81104, *4, 2014 WL 2615827 (D. Utah June 12, 2014) (quoting OMI Holdings, 149 F.3d 1086,

1091). “The plaintiff may make this prima facie showing by demonstrating, via affidavit or

other written materials, facts that if true would support jurisdiction over the defendant.” OMI

Holdings, 149 F.3d at 1091 (emphasis added). In evaluating the documentary evidence, the Court

does not act as a factfinder. Ten Mile Indus. Park v. W. Plains Serv. Corp., 810 F.2d 1518, 1524

(10th Cir. 1987). The Tenth Circuit has acknowledged that when evaluating the personal

jurisdictional issue “[i]n the preliminary stages of litigation . . . the plaintiff's burden is light.”

Wenz, 55 F.3d at 1505.

                                         III.    ARGUMENT

A. Plaintiff’s Complaint unambiguously alleges that Wright Medical Group was directly
   engaged in the business of designing, licensing, manufacturing, distributing, marketing,
   and selling the product at issue in this case.
        As an initial matter, WMG does not dispute that Plaintiff was implanted with

PROFEMUR Hip products on January 9, 2006, or that the products implanted were designed,

manufactured, and marketed by a Wright company. Indeed, it is undisputed that the Wright

company that designed, manufactured, and marketed the PROFEMUR products implanted in

Plaintiff in Utah in 2006 purposefully availed itself to conduct business in Utah, invoking the

benefits and protections of Utah’s laws and subjecting itself to specific personal jurisdiction.

Plaintiff’s Complaint contains allegations against both Wright Medical Technology, Inc., and

Wright Medical Group, Inc. in this regard.

        Plaintiff’s Complaint unambiguously alleges that Wright Medical Group, Inc. itself was

directly engaged in the business of designing, licensing, manufacturing, distributing, marketing,

and selling the product in question. Defendant’s Motion to Dismiss claims Plaintiff “conflates

WMG and WMT together as if they were a single entity. . . [and] Plaintiff merely alleges that

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WMG was the parent corporation of defendant [WMT].” (motion, p. 7-8). Defendants’ narrow

reading of the Complaint fails. Although Plaintiff’s Complaint does contain allegations that

WMT is a subsidiary of WMG, Plaintiff’s Complaint does not merely allege that WMG’s role

with respect to the PROFEMUR products as that of parent over a subsidiary; rather, Plaintiff

alleges WMG’s direct role in designing, manufacturing, and selling, the PROFEMUR product

implanted in Plaintiff in Utah.

       Specifically, Plaintiff alleges the following: “Plaintiff Martin L. Smith brings this product

liability personal injury action as a recipient of a defective medical device, known as the Wright

Medical PROFEMUR® Hip System, that was designed, manufactured, labeled, marketed, and

distributed by Defendants.” (Complaint, paragraph 10, emphasis added). “Defendants” is

defined in the Complaint to specifically encompasses both WMG and WMT. (Complaint,

paragraph 7).2 As such, allegations against the “Defendants” must be read as allegations against

both WMT and WMG.

       Thus, for example, when Plaintiff alleges in paragraphs 10, 170, 182, 183, (among

others), that the Wright Medical PROFEMUR Hip System was designed, manufactured, labeled,

marketed, and distributed by the “Defendants,” and uses the term “Defendants” throughout the

Causes of Action, those allegations must be read as alleging that the Wright Medical

PROFEMUR Hip System was designed, manufactured, labeled, marketed, and distributed by




2
  That Plaintiff groups these two companies together for reference does not alter the fact that
Plaintiff’s claims are brought against them as separate entities. WMG and WMT are also alleged
to be “representatives, agents, employees, co-conspirators, servants, employees, partners, joint-
venturers, franchisees, or alter egos” of each other—in other words, one is acting for or on behalf
of the other. (Complaint, paragraph 7). This allegation also makes the factual claims against
WMG direct, rather than through a parent/subsidiary relationship. Plaintiff is entitled to make
alternative, even conflicting, allegations in support of its claims. Fed.R.Civ.P. 8(d)(2) and (3).
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Wright Medical Group and the Causes of Action are directly alleged against Wright Medical

Group for its own direct role in causing Plaintiff’s alleged injuries in Utah.

       Moreover, the Complaint makes extensive allegations against “Wright Medical.” (See

Complaint, paragraphs 14-168) Like the term “Defendants,” “Wright Medical” is a term defined

by the Complaint and specifically encompasses both WMG and WMT. (Complaint, paragraph

7). As such, when Plaintiff makes allegations against “Wright Medical,” those allegations must

be read as allegations directly against WMG. Given the allegations, it is Defendant, not Plaintiff,

who is trying to conflate WMT and WMG.

       The factual allegations of Plaintiff’s Complaint against WMG establish that WMG

expected and intended that its PROFEMUR hip products—sold nationwide—would be

distributed and sold in the State of Utah, which in fact occurred here. (See Complaint, Paragraph

97). Moreover, that WMG may use its wholly owned subsidiary, WMT, as the national

distributor of its products does not render WMG immune from suit in Utah when—as shown by

the written documentation provided herein—WMG is the company that designs, manufactures,

and sells the products. See e.g., cases listed in J. McIntyre Mach., Ltd. v. Nicastro, 131 S. Ct.

2780, 2801, 2804-2806 (U.S. 2011) (J.Ginsberg, Dissent) (“Courts, both state and federal,

confronting facts similar to those here, have rightly rejected the conclusion that a manufacturer

selling its products across the USA may evade jurisdiction in any and all States, including the

State where its defective product is distributed and causes injury.”)

       Contrary to Defendant’s Motion, Plaintiff’s Complaint sets forth sufficient substantive

jurisdictional facts against Wright Medical Group showing it purposefully availed itself of the

privilege of conducting business in Utah and that Mr. Smith’s litigation directly arose from

Wright Medical Group’s contacts with Utah. Brockbank, 2014 U.S. Dist. LEXIS 81104, *4



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(Plaintiff need only show a reasonable inference that the court has jurisdiction over the

defendant.). Here, Plaintiffs have fully alleged that the defendant’s acts or contacts implicate

Utah under the Utah long-arm statute and that a ‘nexus’ exists between the plaintiff’s claims and

the defendant’s acts or contacts.

B. Plaintiff’s competent evidence supports Plaintiff’s Complaint allegations that WMG
   designed, manufactured, marketed, tested, and sold the PROFEMUR Hip Device.
       In an attempt to contradict the Plaintiff’s allegations against WMG, Defendant attached

an affidavit of its general counsel, James Lightman, to its Motion, making conclusory assertions

that WMG has nothing to do with the product at issue here. But Mr. Lightman’s affidavit is

contradicted by WMG’s own public statements to the Securities and Exchange Commission,

WMG’s own press releases, and various marketing material created by WMG—all of which this

Court can take judicial notice.3 This competent written evidence creates at the least genuine



3
        FRE 201 governs judicial notice: “The court may judicially notice a fact that is not
subject to reasonable dispute because it: (1) is generally known within the trial court's territorial
jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned.” Under the Rule, the court may take judicial notice on its own and
“must take judicial notice if a party requests it and the court is supplied with the necessary
information.” The court may take judicial notice at any stage of the proceeding. FRE 201.

        Judicial notice is appropriate for SEC filings and press releases as they are "capable of
accurate and ready determination by resort to sources whose accuracy cannot be reasonably
questioned." Fed. R. Evid. 201(b); see, e.g., Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d
Cir. 1991); Plevy v. Haggerty, 38 F. Supp.2d 816, 821 (C.D. Cal. 1998) (taking judicial notice of
SEC filings, press releases, analysts' reports, news articles, and stock prices); In re Network
Assocs. Sec. Litig., 2003 U.S. Dist. LEXIS 14442 (N.D. Cal. Mar. 25, 2003) In re Gold Res.
Corp. Sec. Litig., 957 F. Supp. 2d 1284, 1293 (D. Colo. 2013) (Court properly took “judicial
notice of various publicly-available documents, including GRC press releases, forms filed with
the SEC, transcript of earnings conference calls, and a Google Finance chart showing opening
and closing stock prices on August 10, 2012.”). Moreover, the filings and press releases are not
hearsay because Wright has plainly "manifested an adoption or belief in [the] truth" of the
representations made. Fed. R. Evid. 801(d)(2)(B). See Nat'l City Golf Fin. v. Higher Ground
Country Club Mgmt. Co., LLC, 2008 U.S. Dist. LEXIS 26949, 27-28 (S.D.N.Y. 2008); see e.g.,
Exhibits 1-1 to 1-4 pp. 81-83) (10-K certifications by COO and CEO).


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issues of material fact as to WMG’s direct involvement in the design, manufacture, marketing,

and sale of Wright’s hip implant products, including the defective PROFEMUR product

implanted into Plaintiff’s body.

        a. SEC Statements
       As a publicly traded company, WMG was required to file various public documents and

disclosures with the Securities and Exchange Commission. (See Section 13 and 15(d) of the

Securities and Exchange Act of 1934). WMG filed many quarterly and annual reports detailing

its company, its business, its products, and its financials. This is critical here because WMG has

for many years publicly identified itself as the company that specializes in the design,

manufacture and marketing of reconstructive joint devices, and has claimed the Wright

products—including the PROFEMUR products at issue here—as its own. While WMG may now

claim that Wright Medical Technology, Inc. is the sole designer, manufacturer, and marketer of

the Wright hip implant products, WMG’s various public SEC filings of which the court can take

judicial notice all render that claim dubious.

       For example, WMG’s Annual 10-K Report filed in 2001 (the year WMG acquired the

PROFEMUR Hip Device) makes the following statements:

       2001 10-K (Exhibit 1-1)

       Overview

              Wright Medical Group, Inc. (the “Company”) is a global orthopaedic device
       company specializing in the design, manufacture and marketing of reconstructive
       joint devices and bio-orthopaedic materials. Reconstructive joint devices are used to
       replace knee, hip and other joints that have deteriorated through disease or injury. (p. 2).


        The judicial notice being taken, of course, is not the Court’s determination that the
statements are true; rather, it is a judicial determination that the statements were in fact made by
the Wright Medical Group, Inc., thus creating a disputed question of fact between what Wright
Medical Group, Inc. has publicly stated for many years, and what is being said by Mr. Lightman
in his affidavit crafted for use in this litigation.
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History:

       The Company acquired Cremascoli Ortho Group ("Cremascoli"), based in
Toulon, France. This acquisition extended the Company's product offerings, enhanced
the Company's product development capabilities, and expanded the Company's European
presence. As a result of combining Cremascoli's strength in hip reconstruction with
Wright's historical expertise in knee reconstruction and bio-orthopaedic materials, the
Company now offers orthopaedic surgeons a broad range of reconstructive joint devices
and bio-orthopaedic materials in over 40 countries (p. 2).

Hip Reconstruction:

        The Company offers a comprehensive line of products for hip joint
reconstruction. This product portfolio, which was strengthened by the Cremascoli
acquisition, provides offerings in the areas of bone-conserving implants, total hip
reconstruction, revision replacements implants, and limb preservation. Additionally,
the Company’s hip products offer a combination of innovative modular designs…

        Through the Company’s acquisition of Cremascoli, several hip implant
products designed for the European market, including the ANCA FIT-Registered
Trademark – Hip System and PROFEMUR-TM-R Hip System, were acquired . . . The
PROFEMUR-TM-R Hip stem is a revision replacement implant with a patented
modular femoral neck component, which allows the surgeon to make final adjustments
to the implant as the last stem in the procedure in order to accommodate each patient’s
unique anatomy. (p. 8).

Product Development:

       Modular hip systems are growing in popularity, especially in revision replacement
hip implant procedures. The PROFEMUR-TM-R was designed by Cremascoli for the
European market. Although the Company is currently selling this product in the U.S.,
the Company is also developing a modified version and instrumentation to address
the needs of U.S. surgeons. The new system, the PROFEMUR-TM-USA Modular Hip
will capitalize on the successful clinical history of the current PROFEMUR-TM-R
product while incorporating new technology into the design. (p. 11).

Manufacturing and Supply:

        The Company operates manufacturing facilities in both Arlington, Tennessee
and Toulon, France. These facilities primarily produce orthopaedic implants and
some of the related surgical instrumentation used to prepare the bone surface and
cavities during the surgical procedure. The majority of the Company’s surgical
instrumentation is produced to the Company’s specifications and designs by qualified
subcontractors who serve medical device companies. (p. 14).

       Employees:


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              As of December 31, 2001, the Company employed directly and through our
       subsidiaries 751 people in the following areas: 347 in manufacturing, 217 in sales and
       marketing, 121 in administration and 66 in research and development. (p. 17).

       (emphasis added).

       Plainly, Wright Medical Group, Inc. unambiguously identified itself—and only itself—as

the “Company” (with a capital “C”) whose products are being discussed in the 10-K filing.

Subsidiaries—including Wright Medical Technology, Inc.—are not included within that

“Company” reference. WMG plainly separates its subsidiaries (such as Wright Medical

Technology, Inc.) from the “Company.”4 This separation is critical to the inquiry because

WMG’s SEC filings specifically identify the “Company’s” (i.e., Wright Medical Group, Inc.),

business as designing, manufacturing, and marketing of reconstructive joint devices—the very

fact Defendant now disputes in its Motion.

       Various other SEC statements by WMG throughout 2002, 2003, 2004, 2005, and

2006 express similar claims with regard to WMG’s design, manufacture, and marketing

of the Wright products.5 In the 2006 10-K (the year Plaintiff’s implant was completed),

WMG continued to express that it is the company that specializes in the design,

manufacture, and marketing of its products:




4
  For example, see also Exhibit 1-1, p. 21, where WMG plainly separates WMG from Wright
Medical Technology, Inc. in its filings. (“The following table sets forth certain selected
consolidated financial data of Wright Medical Group, Inc. (the “Company”) and Wright Medical
Technology, Inc., (the “Predecessor Company”) . . . .
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  Plaintiff recognizes the voluminous nature of these exhibits is not ideal. However, Plaintiff is
wary to provide only selected portions of these documents as exhibits. Based on past experience
in other forums, Plaintiff’s counsel anticipates WMG will claim Plaintiff is attempting to mislead
the Court for failing to provide the full SEC documents. Thus, the full documents are provided.
To help direct the Court to the relevant portions of the exhibit and assist the Court in its review
of WMG’s statements, Plaintiff has highlighted each exhibit for ease of reference.
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2006 10-K (Exhibit 1-2)

Overview

       Wright Medical Group, Inc., through Wright Medical Technology, Inc. and
other operating subsidiaries, is a global orthopaedic medical device company
specializing in the design, manufacture and marketing of reconstructive joint
devices and biologics products. . . . Within these markets, we focus on the higher-
growth sectors of the orthopaedic industry, such as advanced bearing surfaces,
modular necks . . .. (p. 1).

History:

        We were incorporated in November 1999, as a Delaware corporation and had no
operations until December 1999 when we acquired majority ownership of our
predecessor company, Wright Medical Technology, Inc., in a recapitalization transaction,
and immediately thereafter acquired Cremascoli Ortho Holding, S.A., based in Toulon,
France. The Cremascoli acquisition extended our product offerings, enhanced our
product development capabilities, and expanded our European presence. As a result of
combining Cremascoli’s strength in hip reconstruction with the predecessor company’s
historical expertise in knee reconstruction and biologics, we offer a broad range of
reconstructive joint devices and biologics to orthopaedic surgeons in over 60 countries.
(p. 1).

Orthopaedic Industry:

       We specialize in reconstructive joint devices and biologics products. (p. 1).

Government Regulation:

      Our products are strictly regulated by the United States Food and Drug
Administration (FDA) under the Food, Drug, and Cosmetic Act (FDC Act). Some of our
products are also regulated by state agencies. (p. 3).

Hip Reconstruction

       We offer a comprehensive line of products for hip joint reconstruction. . . . our
hip products offer a combination of unique, innovative modular designs . . .

        The PROFEMUR® patented modular neck systems allow surgeons to carefully
adjust and fine-tune implant positioning during surgery. If a surgeon requires a change in
leg length, offset or version, the PROFEMUR ® system conveniently allows these
options, without compromise. All of these options can be changed after the hip stem is in
place. Our principal PROFEMUR® stem offerings which allow this innovative
modularity include our PROFEMUR® Z, PROFEMUR® Plasma Z, PROFEMUR®
LX, PROFEMUR® Tapered, PROFEMUR® RAZ, PROFEMUR® TL and the

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       PROFEMUR® RENAISSANCE® stems. These stems represent the vast majority of
       popular stem designs in the current marketplace. (p. 5-6).

       Employees

              As of December 31, 2006, we employed approximately 1,060 people in the
       following areas: 440 in manufacturing, 340 in sales and marketing, 150 in administration
       and 130 in research and development. (p. 13).


       (emphasis added).

       While WMG may claim today to have no employees and not be the designer and

distributor of the PROFEMUR modular neck at issue in this case, that was plainly not its claim

in the many year preceding Mr. Smith’s PROFEMUR implant when WMG unambiguously

claimed the PROFEMUR product as its own. Contrary to the Defendants’ affidavit, the Form 10-

K’s filed by WMG do not identify WMG as simply a “holding company” unaffiliated with any

design, manufacturing, or marketing of Wright’s products as represented by Mr. Lightman’s

affidavit, nor is there any identification of Wright Medical Technology, Inc. as the sole designer,

manufacturer, or seller of any products sold by Wright. Contrary to Mr. Lightman’s affidavit, the

public representations of Wright has always been that Wright Medical Group., Inc. is the

designer, tester, manufacturer, marketer, and seller of hip products, including the PROFEMUR®

hip products at issue here.

       In the years since the PROFEMUR product was implanted into the Plaintiff, WMG has

never disclaimed ownership and responsibility for its PROFEMUR products in its SEC filings.

WMG continued into 2014 to represent to the public that the PROFEMUR product was its own.

Significantly, in reference to the product defect lawsuits against it concerning its PROFEMUR

products, WMG represents in its 2013 10-K (the year Plaintiff’s hip fractured) that these lawsuits

involve “our PROFEMUR series of hip replacement devices,” stating:



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       2013 10-K (Exhibit 1-3):

       Product Liability Lawsuits Could Harm Our Business:

              Claims for personal injury have also been made against us associated
       with fractures of our PROFEMUR® long titanium modular neck product.
       We believe that the overall fracture rate for the product is low and the fractures
       appear, at least in part, to relate to patient demographics, and have been
       vigorously defending these matters. While continuing to dispute liability, we have
       been open to settling these claims in circumstances where we believe the
       settlement amount is reasonable relative to the risk and expense of litigation. (p.
       14).

       Product Liability:

               Additionally, as of February 21, 2014, we are a defendant in 25 lawsuits
       in various state and federal courts involving claims for damages for personal
       injury associated with fractures of our PROFEMUR® long titanium
       modular neck product. (p. 25).

In that same 10-K, WMG discusses in detail the impact of PROFEMUR product defect claims on

Wright Medical Group, Inc.’s balance sheet and discusses in detail “our liability” and the product

liability insurance that WMG has used—and has exhausted—for the PROFEMUR claims. (See

Exhibit 1-3, p. 47). Note that “our” plainly refers only to WMG; as with all its SEC filings,

Wright Medical Group, Inc., plainly separates WMG from its subsidiaries. This again conflicts

with the Defendant’s affidavit, creating jurisdictional facts that cannot be resolved on a Motion

to Dismiss.

         In summary, Wright Medical Group, Inc.’s public SEC filings of which this Court can

take judicial notice provide sufficient competent evidence consistent with the allegations of

Plaintiff’s complaint that creates factual conflicts establishing Plaintiff’s prima facie showing of

personal jurisdiction.

        b. Press Releases




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        Consistent with WMG’s SEC filings, this Court can also take judicial notice, pursuant to

FRE 2016, of WMG’s own public press releases in which it describes itself as “a global

orthopaedic medical device company specializing in the design, manufacture and marketing of

reconstructive joint devices” and of its claimed responsibility for the PROFEMUR products.

Specifically, between the years 2000 and 2013, WMG released the following press releases7 that

contain language about its PROFEMUR modular neck:

       December 8, 2004 – “Wright Medical Group, Inc. Introduces PROFEMUR Tapered
        Stem Total Hip System.” WMG’s press release states “The PROFEMUR Tapered Stem
        Total Hip System represents the latest enhancements to Wright’s family of innovative
        hip solutions featuring modular neck technology.” (Exhibit 2-1, emphasis added).

       May 19, 2005 – “Wright Medical Group, Inc.’s PATH Technique For Less invasive
        Total Hip Arthroplasty to be Featured in Live Surgery at Upcoming Conference.”
        WMG’s press release states “The PATH™ Technique and instrumentation are designed
        for use with Wright’s PROFEMUR® hip system with modular neck technology”
        (Exhibit 2-2, emphasis added).

       July 19, 2006 – “Wright Medical Group, Inc. Announces Launch of PROFEMUR®
        RENAISSANCE™ Total Hip System.” WMG’s press release states “As part of Wright’s
        PROFEMUR® family of implants, the RENAISSANCE™ stem also incorporates
        modular neck technology which is ideally suited for a less invasive surgical approach.”
        (Exhibit 2-3, emphasis added).

       August 14, 2006 – “Wright Medical Group, Inc. Teams Up With Jimmy Connors for
        Dynamic Patient Education Outreach Program.” WMG’s press release states “The
        website ‘jimmysnewhip.com’ and print collateral from Wright will focus on advances
        like larger diameter femoral heads, modular neck technology and less invasive surgical
        options.” (Exhibit 2-4, emphasis added).

       December 6, 2006 – “Wright Medical Group, Inc. to Host Webcast Featuring the Less
        Invasive PATH® Technique for Total Hip Arthroplasty.” WMG’s press release states
        “The PATH® MIS technique and instrumentation are designed for use with Wright’s
        PROFEMUR® modular neck hip system.” (Exhibit 2-5, emphasis added).




6
 See Footnote 3, above.
7
 Notably, the “contact” for each of these press releases is “Wright Medical Group, Inc.,
Arlington” and the “source” of the press releases is “Wright Medical Group, Inc.”
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      February 9, 2007 – “Tennis Legend Jimmy Connors Joins Wright Medical to Share His
       Experiences of Total Hip Replacement During American Academy of Orthopedic
       Surgeons’ Meeting.” WMG’s press release states “Additionally, they selected the
       PROFEMUR® Modular Neck which allowed Dr. Penenberg to precisely equalize leg
       length…” (Exhibit 2-6, emphasis added).

      April 24, 2007 – “Wright Medical Group, Inc. Expands Hip Product Portfolio With Key
       Product Launches” WMG’s press release states “ The new PROFEMUR® TL Stem
       combines the flexibility of Wright's modular neck technology with the proven design
       of a flat tapered wedge geometry stem.” (Exhibit 2-7, emphasis added).

      February 7, 2008 – “Wright Medical Group, Inc. Enhances Hip Offering With Launch of
       Additional PROFEMUR® Stem Designs and Introduction of Unique Less-Invasive
       Surgical Technique.” WMG’s press release states, in part, “While a number of
       orthopaedic manufactures are developing modular neck implants, Wright is the pioneer
       of this technology offering a broad spectrum of modular necks and modular neck
       stem philosophies backed by over 20 years of clinical results.” (Exhibit 2-8, emphasis
       added).


       Critically, these press releases do not support Mr. Lightman’s affidavit that Wright

Medical Technology, Inc. is the sole responsible party for the PROFEMUR Modular Neck at

issue in this litigation. Rather, they directly contradict Mr. Lightman’s affidavit by showing that

WMG participated in the design, manufacture, labeling, marketing, promotion, distribution, and

sell of the PROFEMUR hip implant at issue.

       WMG’s press releases also address the hiring of Mr. Lightman. On December 29, 2011,

Wright Medical Group released the following Press Release: “Wright Medical Group, Inc.

Names James A Lightman Senior Vice President, General Counsel and Secretary.” (Exhibit 2-

9). The press release goes on to state “Wright Medical Group, Inc. (NASDAQ: WMGI), a

global orthopaedic medical device company and a leading provider of surgical solutions for

the foot and ankle market, today announced that James A. Lightman has been named Senior Vice

President, General Counsel and Secretary, effective immediately.” (Id., emphasis added).




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        These public statements by WMG directly contradict the Lightman affidavit created by

the Defendant for use in this litigation. While WMG may claim today in this litigation to have no

direct relationship to the PROFEMUR® products at issue here, that was plainly not what it was

telling the public. Under Plaintiff’s light burden of proof at this stage of the litigation, this Court

must deny WMG’s Motion to Dismiss.

C. The documentary evidence further supports the allegations of Plaintiff’s complaint
   that WMG controlled the manufacture and sale of Plaintiff’s PROFEMUR hip device
   from Europe to the forum state, Utah.
        Beyond the SEC statements and press releases confirming WMG’s involvement with the

PROFEMUR products, the public evidence establishes that WMG controlled the entire stream of

commerce from the design and manufacture of Plaintiff’s PROFEMUR hip device to its final

point of sale in Utah.

        As set forth in Plaintiff’s Complaint, WMG was formed in 1999-2000 through the

combination of two entities, Cremascoli Ortho Group, Inc. (“Cremascoli”), which was the

original designer of the PROFEMUR modular neck implanted into Plaintiff in Utah, and Wright

Medical Technology, Inc. WMG’s marketing materials and SEC statements confirm that WMG

acquired Cremascoli in order to extend WMG’s product offerings, including the PROFEMUR

Modular Neck Hip System at issue in this case. On January 4, 2000, WMG release a press

release stating “The Wright Medical Group was formed by the merger of Wright Medical

Technology of Arlington, Tennessee, and Cremascoli Ortho Group of Toulon, France . . . The

combined Wright Medical Group will benefit from distribution channels and product lines

which are very complementary.” (Exhibit 3, emphasis added).

        WMG did expand the PROFEMUR hip system to the US market while maintaining

manufacturing operations in its manufacturing facilities in Toulon, France. (Complaint, para. 15-

16). The product identification stickers of Plaintiff’s PROFEMUR hip implanted in Utah confirm

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that the PROFEMUR Titanium Modular Neck was manufactured at WMG’s facility in Toulon,

France. Specifically, the product identification sticker for the PROFEMUR Modular Neck that

fractured in this case states “Manufacturer Wright Cremascoli Ortho – Ze La Farlede – Rue

Pasteur – BP 222 – 63089 Toulon Cedex 9 (France).”




Exhibit 4. It is expected that the sales invoice for the distribution of WMG’s PROFEMUR

product will be produced in discovery in this case to further establish the direct sale/distribution

of the product in Utah, consistent with Plaintiff’s allegations and the evidence showing the

product in question was manufactured by WMG in France and the fact it was implanted into

Plaintiff in Utah.

       Then in 2013, after WMG realized significant profits from the sale of its PROFEMUR

hip products to Plaintiff and others WMG sold its hip and knee division—including the

PROFEMUR Modular Neck Hip System at issue in this case—to MicroPort Scientific

Corporation (“MicroPort”). In a press release dated January 9, 2015, WMG states “Wright

Medical Group, Inc. (NASDAQ: WMGI) today announced the closing of the transaction to

divest its OrthoRecon business to MicroPort Scientific Corporation (HK: 0853) and its affiliates.


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The closing of the transaction occurred on January 9, 2014. (Exhibit 5). In a subsequent report

(10-Q) for the quarterly period ending March 31, 2014, WMG details the $285 million sale of its

hip and knee products (its “OrthoRecon business”—which included its PROFEMUR products)

to MicroPort. Critically, WMG does not state that the $285 million cash is the property of its

subsidiary, Wright Medical Technology, Inc. In fact, WMG states: “we recognized

approximately $24.3 million as the gain on disposal of the OrthoRecon business.” (Exhibit 6,

pp. 10-11, emphasis added).

       Despite the evidence that WMG manufactured Plaintiff’s hip at its facility in Toulon,

France, the undisputed allegations that the product was implanted in Plaintiff in Utah, and the

evidence documenting WMG’s profit of $24.3 million from the sale of its OrthoRecon business

(which included the PROFEMUR products), WMG seeks dismissal from this case—without

discovery—based on the affidavit of corporate counsel created for use in this litigation. WMG

cannot overcome Plaintiff’s prima facie showing of personal jurisdiction.

       The statements WMG made in its SEC filings and press releases, the manufacturing

records of Plaintiff’s hip, and the financial gain WMG realized as a result of the sale of its

OrthoRecon business, all as described in detail above and attached to this Response, create a

dispute to the conclusory affidavit attached to WMG’s Motion and support Plaintiff’s prima

facie showing of personal jurisdiction over Wright Medical Group, Inc. Considering the light

burden imposed on Plaintiff at this early stage of the proceedings to establish jurisdictional facts,

Defendant WMG cannot extricate itself from this case on a Motion to Dismiss. In accordance

with the standard outlined in OMI Holdings, Wenz, and Brockbank, Plaintiff provides sufficient

competent written materials to create genuine issues of material fact as to WMG’s direct




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involvement in the design, manufacture, and marketing of the PROFEMUR products at issue

here. Defendant’s Motion should be denied.

                                        IV.     CONCLUSION


        WHEREFORE, Plaintiff respectfully requests that the Court deny WMGs FRE 12(b)(2)

Motion to Dismiss for lack of personal jurisdiction. Plaintiff requests that the Court deny the

Motion and allow the parties to conduct discovery. If the Court is inclined to resolve the

conflicting jurisdictional facts prior to trial, Plaintiff requests a hearing be held. Plaintiff further

requests that the Court grant such other and further relief as the Court deems just, reasonable,

and proper.



        Dated this 10th day of June, 2015.

        Respectfully Submitted,


                        BURG SIMPSON
                        ELDREDGE HERSH & JARDINE, P.C.



                        s/ A. Casey Geiger___________________

                        Peter W. Burg
                        James G. Heckbert
                        A. Casey Geiger
                        Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

               I hereby certify that on the 10th day of June, 2015, a true and correct copy of the

foregoing PLAINTIFF’S RESPONSE TO DEFENDANT WRIGHT MEDICAL GROUP’S

MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION was filed using the

court’s electronic system, which sent notice to the following:



       Robert L. Janicki
       Lance H. Locke
       STRONG & HANNI
       9350 South 150 East, Suite 820
       Sandy, Utah 84070
       Attorneys for Defendant

       Michael V. Kell
       Michael O. Fawaz
       HOWARD & HOWARD
       450 West Fourth Street
       Royal Oak, MI 48067
       Attorneys for Defendant


                                                             s/ Lori Harper___________




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                                  EXHIBIT INDEX


PLAINTIFF’S                                      TITLE
EXHIBIT NO.
          1-1   WMG 2001 10-K
          1-2   WMG 2006 10-K
         1-3    WMG 2013 10-K
          2-1   2004 12 08 Press Release Re Profemur Tapered Stem THS
          2-2   2005 05 19 Press Release Re WMG’s Path Technique
          2-3   2006 07 19 Press Release Profemur Renaissance Hip Stem
          2-4   2006 08 14 Press Release Re Jimmy Connors Profemur 2 Hip
          2-5   2006 12 06 Press Release Re Path Technique for Total Hip Arthroplasty
          2-6   2007 02 09 Press Release Re Jimmy Connors Joining WMG
          2-7   2007 04 24 Press Release Re Expansion of Hip Product Portfolio
          2-8   2008 02 07 Press Release Re Additional Profemur Stem designs
          2-9   2011 12 29 Press Release Re James Lightman as Senior Vice President
            3   2000 01 04 Press Release of Wright Medical Group, Inc. Investor Relations
            4   Smith Product Label Stickers
            5   2014 01 09 Press Release Re Completion of Microport Sale
            6   2014 Q1 10Q
